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      JAMES SHAYLER
10
11                          UNITED STATES DISTRICT COURT
12                         CENTRAL DISTRICT OF CALIFORNIA
13
      James Shayler,                             Case No.:
14
15            Plaintiff,
16    v.                                         COMPLAINT FOR VIOLATIONS
                                                 OF: AMERICANS WITH
17    HB Mat Properties, a California limited    DISABILITIES ACT OF 1990, 42
                                                 U.S.C. § 12181 et seq.; UNRUH
18    liability company; and Does 1-10,          CIVIL RIGHTS ACT, CALIFORNIA
                                                 CIVIL CODE § 51 et seq.
19             Defendants.
20
21                                               DEMAND FOR JURY TRIAL
22
23
24
25              Most Americans will become disabled at some point in life.
26
            Plaintiff James Shayler (hereinafter referred to as “Plaintiff,”) complains of
27
28    HB Mat Properties, a California limited liability company; and Does 1-10 (each,


                                          COMPLAINT
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  1   individually a “Defendant,” and collectively “Defendants”), and alleges as follows:
  2
                                I.       PARTIES
  3
  4         1.     James Shayler has only partial use of his leg and suffers from heart

  5   failure. Plaintiff is a California resident with physical disabilities. Plaintiff has
  6
      difficulty walking and standing. Plaintiff is mobility impaired. Plaintiff is
  7
  8   qualified as being disabled pursuant to 42 U.S.C. § 12102(2)(A), the California
  9   Unruh Civil Rights Act, §§ 51, et seq., 52, et seq., and other statutory laws which
10
      protect the rights of “disabled persons”. Plaintiff has been issued a blue permanent
11
12    disability Disabled Person Parking Placard by the State of California. Plaintiff is a
13    California resident with physical disabilities.
14
            2.     Defendant HB Mat Properties, a California limited liability company;
15
16    owned the property (“Property”) located at 1200 CA-1 #101, Hermosa Beach, CA
17    90254, at all relevant times.
18
            3.     There is a business establishment on the Property known as “Fusion
19
20    Sushi” (hereinafter “business”).
21
            4.     DOES 1 through 10 were at all relevant times lessors, lessees, property
22
      owners, subsidiaries, parent companies, employers, employees, agents, corporate
23
24    officers, managers, principles and/or representatives of Defendants. Plaintiff is
25
      unaware of the true names and capacities of Defendants sued herein, as DOES 1
26
      through 10, inclusive, and therefore, sues those Defendants by fictitious names.
27
28    Plaintiff requests that the Court grant leave to amend this complaint to allege the
                                             2
                                         COMPLAINT
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  1   true names and capacities when determined by whatever source.
  2
            5.     Plaintiff alleges that Defendants at all times have been and are relevant
  3
  4   to this cause of action, the owners, franchisees, lessees, general partners, limited

  5   partners, agents, employees, employers, represent partners, subsidiaries, partner
  6
      companies, and/or joint ventures of the remaining Defendants and were acting
  7
  8   within the course and scope of that relationship. Plaintiff is further informed and
  9   believes and alleges that each of the Defendants gave consent to, ratified, and/or
10
      authorized the acts alleged of each of the remaining defendants.
11
12          6.     Plaintiff visited the public accommodations owned and operated by
13    Defendants with the intent to purchase and/or use the goods, services, facilities,
14
      privileges, advantages, or accommodations operated and/or owned by Defendants.
15
16                              II.    JURISDICTION & VENUE
17          7.     This Court has subject matter jurisdiction over this action pursuant to
18
      28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
19
20    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
21
            8.     Pursuant to supplemental jurisdiction, an attendant and related cause of
22
      action, arising from the same nucleus of operative facts and arising out of the same
23
24    transactions, is also brought under California’s Unruh Civil Rights Act, which act
25
      expressly incorporates the ADA.
26
            9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
27
28    founded on the fact that the real property which is the subject of this action is
                                            3
                                        COMPLAINT
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  1   located in this district and that Plaintiff’s cause of action arose in this district.
  2
                                  III.   FACTS
  3
  4          10.    The Property owned by Defendants is a facility which is open to the

  5   public and is a business establishment.
  6
             11.    Plaintiff alleges that the Property has been newly constructed and/or
  7
  8   underwent remodeling, repairs, or alterations since 1992, and that Defendants have
  9   failed to comply with California access standards which applied at the time of each
10
      new construction and/or alteration or failed to maintain accessible features in
11
12    operable working condition.
13           12.    Plaintiff visited the Property during the relevant statutory period on
14
      three (3) separate occasions, in March 2019, February 2020 and September 2020 to
15
16    patronize the business.
17           13.    Defendants did not offer persons with disabilities with equivalent
18
      facilities, privileges and advantages offered by Defendants to other patrons.
19
20           14.    Plaintiff encountered barriers (both physical and intangible) that
21
      interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
22
      services, privileges, and accommodations offered at the Property.
23
24           15.    Parking for patrons visiting the Property are among the facilities,
25
      privileges, and advantages offered by Defendants to patrons of the Property.
26
             16.    However, there is no accessible parking for disabled patrons. Not one
27
28    single space. The parking space designated for disabled persons does not comply
                                             4
                                         COMPLAINT
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  1   with the Americans with Disabilities Act (“ADA”).
  2
            17.    The parking area does not comply with the latest California Building
  3
  4   Codes (“2010 CBC”).

  5         18.    Parking is one of the facilities, privileges, and advantages offered by
  6
      Defendants to patrons of the Property.
  7
  8         19.    When Plaintiff visited the Property, he experienced access barriers
  9   related to parking, signage, and paths of travel.
10
            20.    Plaintiff encountered the following barriers at Defendant’s Property:
11
12
13          VIOLATION of 2010 California Building Code (CBC) § 1114B.1.2; 1991
14
            ADA Standards for Accessible Design (ADAS) § 4.3.2(1). (Exterior route
15
16          of travel.) An accessible route of travel is not provided to all entrances and
17          portions of the building, entrances and/or between the building and a public
18
            way.
19
20
21
            VIOLATION of 2010 CBC § 1127B.1. (No accessible exterior route.)
22
23          There was no accessible path of travel into the building entrances. There is
24
            no safe way for Plaintiff to travel from the parking area to the entrance of the
25
            Property.
26
27
28
                                            5
                                        COMPLAINT
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  1        VIOLATION of 2010 CBC § 1127B.1; 1991 ADAS § 4.6.2(1).
  2
           (Directional signage.) There is no directional signage showing an accessible
  3
  4        path of travel.

  5
  6
  7        VIOLATION of 2010 CBC § 1129B.4(5). (Off-street unauthorized parking
  8        sign.) An additional sign must be posted in a conspicuous place at all
  9
           entrances to off-street parking facilities at Property, or adjacent to and visible
10
11         from each space. It is not.
12
13
14         VIOLATION of 2010 CBC § 1129B.4. (Off-street unauthorized parking
15         sign – towed vehicle information.) The unauthorized parking towed vehicle
16
           sign must state information regarding the tow company and telephone
17
18         number. This information was not provided.
19
20
21         VIOLATION of 2010 CBC § 1129B.1; 1991 ADAS § 4.1.2(5). (Accessible
22
           spaces required.) Where parking is provided, a minimum number of
23
24         accessible spaces are required in accord with the number of total spaces.

25         They are not provided.
26
27
28
                                             6
                                         COMPLAINT
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  1        VIOLATION of 2010 CBC § 1129B.3; 1991 ADAS § 4.6.3; 2010 ADAS §
  2
           502.2. (Faded paint – accessible space lines.) The paint used for the
  3
  4        designated accessible parking space is so worn and aged that it cannot be

  5        seen. This makes it unclear where the actual parking space is. The required
  6
           width dimensions were not painted as required. This makes it difficult for
  7
  8        Plaintiff to park in the designated space.
  9
10
11         VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Width of
12         space). The parking space designated for disabled persons measures less than
13
           9 feet wide. This makes it difficult for Plaintiff to park in the designated
14
15         space.
16
17
18         VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Length of
19         space.) The designated disabled parking spaces measures less than 18 feet
20
           long, which makes it difficult for Plaintiff to park in the designated space.
21
22
23
24         VIOLATION of 2010 CBC § 1133B.7.1; 1991 ADAS § 4.6.8. (Abrupt

25         changes in level.) The path of travel from the space reserved for disabled
26
           patrons has an uneven ground surface with changes in level exceeding one-
27
28         half inch.

                                          7
                                      COMPLAINT
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  1        VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
  2
           § 502.4. (Slope of parking space.) The parking space reserved for disabled
  3
  4        patrons has surface slopes in it that are greater than 2%.

  5
  6
           VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
  7
  8        § 502.4. (Slope of adjacent access aisle.) The adjacent loading/unloading
  9        access aisle for the space reserved for disabled persons has surface slopes in
10
           it that are greater than 2%.
11
12
13
           VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
14
15         2010 ADAS § 4.6.3. (Length of adjacent access aisle.) The adjacent access
16         aisle to the designated disabled parking space is less than 18 feet long. This
17
           makes it difficult for Plaintiff to use the adjacent space to safely disembark
18
19         from the car.
20
21
22         VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
23
           2010 ADAS § 4.6.3. (Width of adjacent access aisle.) The adjacent
24
25         loading/unloading access aisle to the designated disabled parking space is

26         less than 5 feet wide. This makes it difficult for Plaintiff to use the adjacent
27
           space to safely disembark from the car.
28
                                          8
                                      COMPLAINT
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  1        VIOLATION of 2010 CBC § 1129B.3.1; 1991 ADAS § 4.6.3; 2010 ADAS
  2
           § 502.3. (No loading/unloading access aisle.) The adjacent loading/unloading
  3
  4        access aisle for the accessible parking space was missing entirely. This made

  5        it difficult for Plaintiff to use the adjacent space to safely disembark from the
  6
           car. There are remnants of badly cracked and worn/faded paint, which
  7
  8        may have been an attempt an access aisle once.
  9
10
           VIOLATION of 2010 CBC § 1129B.4. (Surface signage.) The paint used for
11
12         the designated accessible parking spaces is faded and cannot be seen. There is
13         no compliant surface signage at the designated disabled parking space. The
14
           International Access Symbol is so faded and worn that it cannot be read. The
15
16         street surface (pavement) signage is unreadable because the paint has faded.
17
18
19         VIOLATION of 2010 CBC § 1129B.3.1. (“No Parking” – surface sign.)
20
           The words “No Parking” are missing from the adjacent loading/unloading
21
           access aisle. They must be painted with letters at least 12” high. As a result,
22
23         non-disabled patrons park in the loading/unloading access aisle – blocking
24
           Plaintiff from being able to use the access aisle. These words were faded
25
           and can no longer be seen.
26
27
28
                                          9
                                      COMPLAINT
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   1        VIOLATION 2010 CBC § 1129B.4; 1991 ADAS § 4.6.4; 2010 ADAS §
   2
            502.6. (Sign missing – accessible parking space.) The sign identifying the
   3
   4        designated disabled accessible parking space was missing entirely.

   5
   6
   7        VIOLATION of 2010 CBC § 1129B.3.1; 2010 ADAS § 502.6; ADAS §
   8
            4.6.3. (Marked path of travel.) There is no marked path of travel from the
   9
  10        disabled parking space to the entrance. There is no safe way for Plaintiff to
  11        park there and then travel to the entrance of the Property. Plaintiff is forced
  12
            to travel a dangerous route, behind parked cars and in the vehicle drive path
  13
  14        to move from the space to the entrance.
  15
  16
  17        VIOLATION of 2010 CBC § 1133B.5.1; 1991 ADAS § 4.8.1. (Ramps.)
  18
            The accessible route of travel has a slope greater than 1:20 (5%) but is not a
  19
  20        compliant ramp.
  21
  22
  23        VIOLATION of 2010 CBC § 1133B.5.2. (Minimum width of ramps.) The
  24
            ramps do not have a minimum clear width of forty-eight inches (48”).
  25
  26   //
  27
       //
  28
                                          10
                                       COMPLAINT
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   1        VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Least
   2
            possible slope of ramp.) The least possible slope was not used for the ramp
   3
   4        leading into the business.

   5
   6
   7        VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Maximum
   8        slope of ramp.) The slope of the ramp leading into the business is greater
   9
            than 8.33%.
  10
  11
  12
            VIOLATION of 2010 CBC § 1133B.5.3.1; 1991 ADAS § 4.8.6. (Maximum
  13
  14        cross slope of ramp.) The cross slope of the ramp was greater than 2%.
  15
  16
            VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4. (Level ramp
  17
  18        landings.) Level ramp landings must be provided at the top and bottom of
  19        each ramp. They are not provided.
  20
  21
  22        VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4(1). (Width of
  23
            ramp landings.) The landing of ramps must be at least twice the width as the
  24
            ramp run leading to it, but they are not at least twice as wide.
  25
  26
  27
            VIOLATION of 2010 CBC § 1133B.5.4.2; 1991 ADAS §§ 4.8.4(2),
  28
                                            11
                                         COMPLAINT
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   1        4.8.4(3). (Minimum landing width and length for top ramp landings.) The
   2
            ramp’s top landing is not sixty inches (60”) wide and long as required.
   3
   4
   5
            VIOLATION of 2010 CBC § 1133B.5.4.2. (Minimum landing length for
   6
   7        bottom ramp landings.) The ramp’s bottom landing is not seventy-two inches
   8
            (72”) in length as required.
   9
  10
  11        VIOLATION of 2010 CBC § 1133B.5.4.6; 1991 ADAS § 4.8.4(3).
  12
            (Minimum landing size for change of direction in ramp.) The change of
  13
  14
            direction in the ramp did not have a minimum landing size of 60” x 60”.

  15
  16
  17        VIOLATION of 2010 CBC § 1133B.5.4.9. (Ramp curb.) Required ramps

  18        shall have a curb at least 2 inches high, or a wheel guide rail 2 to 4 inches
  19
            high on each side of the ramp landing that has a vertical drop exceeding 4
  20
  21        inches and that is not bounded by a wall or fence. The ramp did not have a

  22        curb at least 2 inches high, or an appropriate wheel guide rail.
  23
  24
  25
  26        VIOLATION of 2010 CBC 1127B.5.7; ADA § 4.7.7 (Detectable Warnings

  27        - Curb Ramp). Detectable warnings extending the full width and depth of the
  28
                                          12
                                       COMPLAINT
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   1        ramp were not installed where curb ramps lead to an accessible route.
   2
   3
   4
             VIOLATION of 2010 CBC § 1127B.5.1; 2010 ADAS § 406.1; 1991
   5
   6        ADAS § 4.7.1. (Curb ramp.) The accessible route of travel crosses a curb but
   7        there is not a compliant curb ramp.
   8
   9
  10        VIOLATION 2010 CBC § 1129B.4. (Sign missing – $250 fine.) The sign
  11
            warning of the minimum $250 fine for unauthorized parking in the
  12
  13        designated disabled accessible parking space is missing entirely.
  14
  15
  16        VIOLATION of 2010 ADAS § 502.3. (Access aisles.) The adjacent
  17
            loading/unloading access aisle must adjoin an accessible route to an
  18
  19        accessible entrance. It does not.
  20
  21
  22        VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Path from
  23        parking – uneven surface.) The path of travel from the designated disabled
  24
            parking space to the entrance has damaged ground which is uneven. The
  25
  26        damaged ground has pavement distresses. Parts of the ground surface are not
  27
            flush. The surface of the ground within the designated path of travel leading
  28
                                          13
                                       COMPLAINT
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   1         into the entrance is not flat. This makes traveling in this area difficult. The
   2
             path of travel from the designated disabled parking space to the entrance runs
   3
   4         into these pavement distresses which has caused changes in level greater than

   5         1/2 inch but provides no ramps. These steep changes in level create uneven
   6
             surfaces. The parking area is riddled with damaged asphalt. Some of
   7
   8         these damaged areas are particularly severe directly in the disabled
   9         parking spaces as well as the adjacent loading/unloading aisles, in
  10
             addition to being along the paths of travel into the only customer
  11
  12         entrance. Some of the damaged areas in the asphalt as well as the
  13         concrete exist in various areas in different degrees. The types of
  14
             pavement distresses which exist include but are not limited to:
  15
  16               • Alligator (fatigue) cracking
  17
                   • joint reflection cracking
  18
  19
                   • potholes
  20
  21
             21.      These inaccessible conditions denied Plaintiff full and equal access
  22
  23   and caused difficulty, humiliation, and/or frustration.
  24         22.      The barriers existed during each of Plaintiff’s visits in 2019 and 2020.
  25
             23.      Plaintiff alleges that Defendants knew that the foregoing architectural
  26
  27   barriers prevented access. Plaintiff will prove that Defendants had actual knowledge
  28
                                             14
                                          COMPLAINT
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   1   that the architectural barriers prevented access, and that the noncompliance with the
   2
       ADA Accessibility Guidelines and Title 24 of the California Building Code was
   3
   4   intentional.

   5         24.      Plaintiff intends visit the Property again soon. Currently, Plaintiff is
   6
       reasonably deterred from returning to Defendants’ public accommodation facilities
   7
   8   because of the knowledge of barriers to equal access, relating to Plaintiff’s
   9   disabilities, that continue to exist at the Property.
  10
             25.      Defendants have failed to maintain in working and useable conditions
  11
  12   those features necessary to provide ready access to persons with disabilities.
  13         26.      Defendants have the financial resources to remove these barriers
  14
       without much expense or difficulty in order to make their Property more accessible
  15
  16   to their mobility impaired customers. The removal of these barriers is readily
  17   achievable. The United States Department of Justice has determined that removal of
  18
       these types of barriers is readily achievable to remove.
  19
  20         27.      Defendants refuse to remove these barriers.
  21
             28.      On information and belief, Plaintiff alleges that Defendants’ failure to
  22
       remove these barriers was intentional, because the barriers are logical and obvious.
  23
  24   During all relevant times, Defendants had authority, control, and dominion over
  25
       these conditions; thus, the absence of accessible facilities was not a mishap, but
  26
       rather an intentional act.
  27
  28         29.      These barriers to access are described herein without prejudice to
                                              15
                                           COMPLAINT
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   1   Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
   2
       access agents, pursuant to Doran v 7-ELEVEN, Inc., 524 F3d 1034 (9th Cir. 2008)
   3
   4   (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to

   5   have all barriers that relate to his or her disability removed, regardless of whether
   6
       he or she personally encountered them).
   7
   8      IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
   9       WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
  10
                                      (Against All Defendants)
  11
  12         30.    Plaintiff alleges and incorporates by reference each and every
  13   allegation contained in all prior paragraphs of this complaint.
  14
             31.    Title III of the ADA prohibits discrimination against any person on the
  15
  16   basis of disability in the full and equal enjoyment of the goods, services, facilities,
  17   privileges, advantages, or accommodations of any place of public accommodation
  18
       by any person who owns, leases, or operates a place of public accommodation.
  19
  20   U.S.C. § 12182(a).
  21
             32.    Defendants discriminated against Plaintiff by denying “full and equal
  22
       enjoyment” and use of the goods, services, facilities, privileges, or accommodations
  23
  24   of Defendant’s facility during each visit and each incident of deterred visit.
  25
             33.    The acts and omissions of Defendants herein were/are in violation of
  26
       Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et seq.
  27
  28         34.     Pursuant to the ADA, discrimination is a “failure to make reasonable
                                             16
                                          COMPLAINT
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   1   modifications in policies, practices or procedures, when such modifications are
   2
       necessary to afford goods, services, facilities, privileges, advantages or
   3
   4   accommodations to individuals with disabilities, unless the entity can demonstrate

   5   that making such modifications would fundamentally alter the nature of such goods,
   6
       services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
   7
   8   12182(b)(2)(A)(ii).
   9         35.    The ADA requires removal of architectural barriers in existing
  10
       facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv.)
  11
  12   (“discrimination includes … a failure to remove architectural barriers, and
  13   communication barriers that are structural in nature, in existing facilities, … where
  14
       such removal is readily achievable”). The term “readily achievable” is defined as
  15
  16   “easily accomplishable and able to be carried out without much difficulty or
  17   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
  18
       Standards of Accessible Design (“ADAS”), found at 28 C.F.R., Part 36, including
  19
  20   the ADA Accessibility Guidelines for Buildings and Facilities (“ADAAG”) at Part
  21
       36, Appendix A.
  22
             36.    If removal of any barrier is not readily achievable, a failure to make
  23
  24   goods, services, facilities, or accommodations available through alternative
  25
       methods is also prohibited if these methods are readily achievable. 42 U.S.C. §
  26
       12182(b)(2)(A)(v).
  27
  28         37.    Plaintiff alleges that Defendants can easily remove the architectural
                                            17
                                         COMPLAINT
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   1   barriers at their facility without much difficulty or expense, and that Defendants
   2
       violated the ADA by failing to remove those barriers because removal was readily
   3
   4   achievable. There are companies in the area which can repaint parking areas for as

   5   little as $350. Defendants can afford such costs, which are a fraction of what
   6
       Defendants receive in rental profits for such a large and expensive property.
   7
   8         38.     Alternatively, if it was not “readily achievable” for Defendants to
   9   remove barriers at their facilities, Defendants violated the ADA by failing to make
  10
       the required services available through alternative methods, which are readily
  11
  12   achievable.
  13         39.     On information and belief, the facility was modified after January 26,
  14
       1992, mandating compliance access requirements under the ADA.
  15
  16         40.     The ADA requires that facilities altered in a manner that affects or
  17   could affect their usability must be made readily accessible to individuals with
  18
       disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
  19
  20         41.     Plaintiff alleges that Defendants altered the facilities at the Property in
  21
       a manner that violated the ADA, and/or failed to make the Property readily
  22
       accessible to physically disabled persons, including Plaintiff, to the maximum
  23
  24   extent feasible.
  25
             42.     The ADA also requires reasonable modifications in policies, practices,
  26
       or procedures, when such modifications are necessary to afford goods, services,
  27
  28   facilities, privileges, advantages, or accommodations to individuals with
                                             18
                                          COMPLAINT
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   1   disabilities, unless the entity can demonstrate that making such modifications
   2
       would fundamentally alter the nature of such goods, services, facilities, privileges,
   3
   4   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).

   5         43.    Plaintiff alleges that Defendants violated the ADA by failing to make
   6
       reasonable modifications in policies, practices, or procedures at the Property when
   7
   8   these modifications were necessary to afford (and would not fundamentally alter the
   9   nature of) the goods, services, facilities, privileges, advantages, or accommodations.
  10
             44.    Plaintiff seeks a finding from this Court that Defendants violated the
  11
  12   ADA, so that he may pursue damages under California’s Unruh Civil Rights Act
  13   for Disable Persons Act.
  14
             45.    Here Defendants’ failure to make sure that accessible facilities were
  15
  16   available and ready to be used by the Plaintiff was/is a violation of law.
  17         46.    Plaintiff would like to continue to frequent Defendants’ property
  18
       because it is close to his home. However, he is deterred from doing so because he
  19
  20   has been discriminated against and is aware of accessibility barriers at the Property.
  21
             47.    Among the remedies sought, Plaintiff seeks an injunction order
  22
       requiring compliance with state and federal access laws, and remediation of all the
  23
  24   existing access violations at the Property.
  25
         V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
  26
                                     (Cal. Civ. Code § 51-53.)
  27
  28                                 (Against All Defendants)
                                           19
                                        COMPLAINT
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   1            48.   Plaintiff repleads and incorporates by reference, as though fully set
   2
       forth herein, the allegations contained in all prior paragraphs of this complaint.
   3
   4            49.   California Civil Code § 51 states, in part: “All persons within the

   5   jurisdictions of this state are entitled to the full and equal accommodations,
   6
       advantages, facilities, privileges, or services in all business establishments of every
   7
   8   kind whatsoever.”
   9            50.   California Civil Code § 51 also states, in part: “No business
  10
       establishment of any kind whatsoever shall discriminate against any person in this
  11
  12   state because of the disability of the person.”
  13            51.   California Civil Code § 51(f) specifically incorporates, by reference,
  14
       an individual’s rights under the ADA, into the Unruh Civil Rights Act. (“Unruh
  15
  16   Act”).
  17            52.   The Unruh Act also provides that a violation of the ADA, or California
  18
       state accessibility regulations, is a violation of the Unruh Act Cal. Civ. Code §
  19
  20   51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D.
  21
       Cal. 1994).
  22
                53.   Defendants’ above-mentioned acts and omissions have violated the
  23
  24   Unruh Act by denying Plaintiff his rights to full and equal use of the
  25
       accommodations, advantages, facilities, privileges, and services they offer, on the
  26
       basis of Plaintiff’s disability.
  27
  28            54.   Defendants’ above-mentioned acts and omissions have also violated
                                             20
                                          COMPLAINT
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   1   the Unruh Act by denying Plaintiff his rights to equal access pursuant to the ADA;
   2
       and, thus, Defendants are liable for damages. Cal. Civ. Code § 51(f), 52(a).
   3
   4         55.    Because violation of the Unruh Act resulted in difficulty, discomfort,

   5   and/or embarrassment for Plaintiff, the Defendants are each also responsible for
   6
       statutory damages, such as a civil penalty. Cal. Civ. Code § 55.56(a)(c).
   7
   8         56.    Plaintiff was actually damaged.
   9   //
  10
       //
  11
  12   //
  13   //
  14
       //
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  16   //
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  28   //
                                           21
                                        COMPLAINT
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   1         57.      Plaintiff was damaged by Defendants’ wrongful conduct and seeks
   2
       statutory minimum damages of four thousand dollars ($4,000) for each offense.
   3
   4                                  PRAYER FOR RELIEF

   5                  WHEREFORE, Plaintiff prays for judgment against Defendants, as
   6
       follows:
   7
   8         1. For injunctive relief, compelling Defendants to comply with the
   9               Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
  10
                   Plaintiff is not invoking section 55 of the California Civil Code and is not
  11
  12               seeking injunctive relief under the Disabled Person Acts.
  13         2. Damages under the Unruh Civil Rights Act, which provides for actual
  14
                   damages and a statutory minimum of $4,000 per each offense.
  15
  16         3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
  17               42 U.S.C. § 12205, and Cal. Civ. Code § 52.
  18
                                          JURY DEMAND
  19
  20   Plaintiffs demand a trial by jury on all issues so triable.
  21
  22
       DATED: November 16, 2020                 THE LAW OFFICE OF HAKIMI & SHAHRIARI
  23
  24
                                          By:   /s/ Peter Shahriari, Esq.____________
  25                                            PETER SHAHRIARI, ESQ.
  26                                            Attorney for Plaintiff, James Shayler

  27
  28
                                             22
                                          COMPLAINT
